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USDC FLSD 2458 (Rev.09/08)-JudcmenlinACl
                                       iminalCase                                                         Paae1of6


                          U N ITED STA TE S D ISTR IC T C O U R T
                                               Southern D istrictof Florida
                                                      M iam iDivision

   UNITED STATES OF AM ERICA                                 JUDGM ENT IN A CRIM INAL CASE

                                                             CaseN umber:15-20545-CR-LENARD
                                                             U SM N um ber:0831-104
          ISABEL C .SAN CH EZ
                                                             CounselForDefendant:David Howard
                                                             CounselForTheUnittd States:W illiam Bowne/patrick Donley
                                                             CourtReporter:RobinD ispenzieri
The defendantpleaded guilty to counts1,2,and 9 ofthelndictm ent.

Thedefendantisadjudicated guiltyoftheseoffenses:
TITLE & SECTION                   NATURE OF OFFENSE                                       O FFENSE         COUNT
                                                                                          EN DE D
18U.S.C.j 1349            ConspiracytoCommitW ireFraud                       12/2012        1
18U.S.C.j 1343            W ireFraud                                         07/23/2010 2
18U.S.C.j 1956(h)         ConspiracytoCommitMoneyLaundering                  12/2012       9
The defendant is sentenced as provided in the following pages of thisjudgment.The sentence is imposed
pursuantto the Sentencing Reform Actof1984.
A Ilrem aining counts are dism issed on the m otion ofthe governm ent.
Itis ordered thatthe defendantm ustnotify the United States attorney forthis district within 30 days of any
change ofnam e,residence,orm ailing address untila1lfines,restitution,costs,and specialassessm entsimposed
bythisjudgmentarefullypaid.Iforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStates
attorney ofmaterialchangesin economiccircum stances.




                                                           DateofIm position ofSentence:5/13/2016




                                                           J    A .L enard
                                                           United StatesD istrictJudge


                                                           Date: 5 /@ f oî
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                                            nalCase                                                    Paae2of6

D EFEN DAN T:ISA BEL C .SAN CH EZ
CA SE N U M BER:15-20545-C R -LE NA RD
                                                        IM PRISO N M EN T
The defendantishereby comm itted to the custody ofthe United StatesBureau ofPrisonsto be imprisoned fora
totalterm of48 m onthsasto counts 1,2 and 9,aIIto run concurrently.
The court m akes the follow ing recom m endations to the Bureau of Prisons: Defendant be evaluated for
drug/alcohol treatm ent. D efendant be placed in a facility in South Florida or close to be her m inor
children.
T he defendant shall surrender to the designated facility and/or the U S M arshal for this District on or
before 6/13/16 atllam .

                                                            R ETU RN
Ihaveexecutedthisjudgmentasfollows:




Defendantdelivered on                                                   to

at                                                    ,withacertifiedcopyofthisjudgment.




                                                               UN ITED STATES M ARSHAL



                                                               D EPU TY U NITED STA TES M A R SH A L
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                                          nalCase                                                           Page3of6


DEFEN D AN T:ISA BEL C .SA N CH EZ
CA SE N U M BER :15-20545-CR -LEN A RD
                                           SUPERVISED RELEASE
Upon release from imprisonment,the defendantshallbe on supervised release foraterm of3 yearsas to counts 1,2 and 9,
allconcurrently.
The defendantm ustreportto the probation office in the districtto which the defendantisreleased within 48hoursofrelease
from the custody ofthe Bureau ofPrisons.
Thedefendantshallnotcomm itanotherfederal,stateorlocalcrime.
The defendantshallnotunlawfully possess a controlled substance.The defendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubm itto one drug testwithin 15 daysofrelease from ilnprisonm entand atleast
two periodicdrug teststhereafter,asdeterm ined by the court.
The defendantshallcooperate in the collection ofDNA asdirected by the probation officer.
The defendantshallnotpossessa srearm ,am m unition,destructivedevice,or any other dangerousweapon.

lfthisjudgmentimposesafineorrestitution,itisacondition ofsupervisedreleasethatthedefendantpay in accordance
withtheScheduleofPaymentssheetofthisjudgment.
The defendantm ustcom ply w ith the standard conditionsthathave been adopted by thiscourtaswellaswith any additional
conditionsonthe attached page.
                                STANDARD CONDITIO NS OF SUPERVISIO N
    1.Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer'
                                                                                                  ,
    2.Thedefendantshallreporttotheprobationofficerandshallsubmitatruthfulandcompletewritten reportwithin thetirstfiheen
       daysofeach month;
    3.Thedefendantshallanswertruthfully allinquiriesby theprobationofficerand follow the instructionsoftheprobationofficer;
    4.Thedefendantshallsupporthisorherdependentsandmeetotherfamily responsibilities;
    5.Thedefendantshallwork regularly atalawfuloccupation,unlessexcused bytheprobation officerforschooling,training,or
       otheracceptablereasons;
    6.Thedefendantshallnotify theprobation officeratleastten dayspriorto any changein residenceoremployment;
    7.Thedefendantshallrefrain from excessiveuseofalcoholand shallnotpurchase,possess,use,distribute,oradministerany
       controlledsubstanceoranyparaphernaliarelated toanycontrolledsubstances,exceptasprescribed byaphysician;
    8.Thedefendantshallnotfrequentplaceswherecontrolledsubstancesare illegally sold,used,distributed,oradministered;
    9.Thedefendantshallnotassociatewithanypersonsengagedin criminalactivity andshallnotassociatewith anypersonconvicted
       ofafelony,unlessgrantedpermissionto doso bytheprobation officer;
    l0.Thedefendantshallpermitaprobation officertovisithim orheratany timeathomeorelsewhereandshallpermitconfiscation
       ofanycontraband observed inplain view oftheprobationofficer;
    ll.'T'
         hedefendantshallnotifytheprobationofficerwithin seventy-twohoursofbeing arrestedorquestioned by alaw enforcement
       officer;
    12.Thedefendantshallnotenterintoanyagreementto actasan informeroraspecialagentofa law enforcem entagency withoutthe
       permission ofthecourt;and
    l3.Asdirected bytheprobation ofticer,thedefendantshallnotifythirdpartiesofrisksthatm aybeoccasioned bythe defendant's
       criminalrecord orpersonalhistoryorcharacteristicsandshallpermittheprobationoftk ertom akesuchnotificationsandto
       confirm thedefendant'scompliancewithsuch notiGcation requirement.
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DEFEN DANT:ISABEL C.SANCHEZ
CASE NUM BER:15-20545-CR-LENARD

                                       SPE CIA L C O ND ITIO N S O F SU PER VISIO N

FinancialDisclosureRequirement-Thedefendantshallprovidecompleteaccessto financialinfonuation,
includingdisclosureofa11businessand personalfinances,totheU .S.Probation Officer.

M entalHealth Treatment-Thedefendantshallparticipate in an approved inpatient/outpatientm entalhealth
treatmentprogram.Thedefendantwillcontributetothecostsofservicesrendered(co-payment)basedonability
topay oravailability ofthird party paym ent.

NoNew DebtRestriction -The defendantshallnotapply for,solicitorincurany furtherdebt,included butnot
limitedto loans,linesofcreditorcreditcard charges,eitherasaprincipalorcosigner,asan individualorthrough
any corporateentity,withoutfirstobtaining perm ission from theUnited StatesProbation Officer.

Related Concern Restriction -Thedefendantshallnotown,operate,actasaconsultant,beem ployed in,or
participate in any m anner,in any Factoring business oropportunitiesthatinclude loans orguarantees orany other
related concern during theperiod ofsupervision.

Self-Em ploym entRestriction -Thedefendantshallobtain priorwritten approvalfrom theCourtbefore entering
into any self-employm ent.
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     ïLSD 2458 (Rev.09/08)-JudgmentinaCriminalCase                                             Paae5of6

DEFENDANT:ISABEL C.SANCH EZ
CASE NUM BER:15-20545-CR-LENARD
                             CRIM INAL M ONETARY PENALTIES
Thedefendantmustpaythetotalcrim inalm onetary penaltiesundertheschedule ofpaym entson Sheet6.
                                              A ssessm ent        Fine         Restitution
          TOTALS                                $300.00           $0.00          $0.00
The determ ination of restitution is deferred until6/27/2016.An Am ended Judgm entin a Crim inalCase
(AO 245C)willbeenteredaftersuch determination.
If the defvndant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent,unless specified otherw ise in the priority order or percentage paym ent colum n below .H ow ever,
pursuantto18U.S.C.j366441),allnonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
NAM E OF PAYEE                                            TOTAL   RESTITUTION          PY OW TY OR
                                                          LOSSw   opoEuuo              PERCENTAG E
Restitution with Im prisonm ent - It is further ordered that the defendant shall pay restitution in the
amountof$0.00.Duringtheperiod ofincarceration,paymentshallbtmadeasfollows:(1)ifthedefendant
earnswagesin a FederalPrison lndustries (UNICOR)job,then the defendantmustpay 50% ofwages
earned toward thefinancialobligationsimposed by thisJudgmentin a CriminalCase;(2)ifthedefendant
doesnotwork in a UNICOR job,then thedefendantmustpay a minimum of$25.00 perquarter toward
the financial obligations im posed in this order. Upon release of incarceration, the defendant shall pay
restitution at the rate of 10% of m onthly gross earnings, until such tim e as the court m ay alter that
paymentschedulein the interestsofjustice.TheU.S.Bureau ofPrisons,U.S.Probation Officeand U.S.
A ttorney's O ffice shallm onitor the paym entof restitution and report to the court any m aterialchange in
thedefendant'sability to pay.Thesepaym ents do notprecludethe governm entfrom using other assdsor
income ofthedefendantto satisfy therestitution obligations.
* Findingsforthetotalamountoflossesare required underChapters 109A,110,1IOA ,and 113A ofTitle 18 for
offensescommitted on orafterSeptember 13,1994,butbefore April23,1996.
##Assessmentdueimm ediately unlessotherwise ordered by theCourt.
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JSDC FLSD 2458(Rev.09/û3)-Judamel
                                q inaCriminalCgse                                              Pace6gf#

DEFENDANT:ISABEL C.SANCH EZ
CASE NUM BER:15-20545-CR-LENARD
                                      SCH EDULE OF PAYM ENTS
Having assessed the defendant's ability to pay, paym ent of the total criminal m onetary penalties is due as
follows:
A.Lum p sum paym entof$300.00 dueim m ediately.
Unlessthecourthasexpressly ordered otherwise,ifthisjudgmentimposesimprisonment,paymentofcriminal
m onetary penalties is due during imprisonm ent.A1lcrim inalm onetary penalties,exceptthose paym ents m ade
through the FederalBureau ofPrisons'lnm ate FinancialResponsibility Program ,are m ade to the clerk ofthe
court,

The defendant shallreceive credit for a1lpaym ents previously m ade toward any crim inalm onetary penalties
im posed.
Thisassessment/tine/restitution ispayableto the CLERK,UN ITED STATES COURTS and isto be addressed to:
U .S.CLER K 'S O FFICE
A TTN :FIN AN C IA L SEC TIO N
400 N O R TH M IAM I AV EN U E,R O O M 08N 09
M IAM I,FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately.The U .S.Bureau ofPrisons,U.S.Probation Office and
theU.S.Attorney'sOfficeare responsiblefortheenforcem entofthisorder.
Jointand Several

Defendantand Co-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,Jointand
SeveralAm ount,and corresponding payee,ifappropriate.
jC A SE N UM B ER
               '     '
 D EFEND A NT A N D CO -                                                      JO IN T A N D SEV ER AL
                         DEFEN D A NT N A M E S            TO TA L A M O U NT A M O UN T
 (INCLUDING DEFENDANT NUM BER)
The defendantshallforfeitthe defendant'sinterestin the follow ing property to the U nited States:
ltem s Iisted in the Forfeiture ofM oney Judgm ent entered on 5/10/16 D .E .100
Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitution interest,
(4)fineprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostof
prosecution and courtcosts.
